Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 1 of 17




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION


                             CASE NO. 21-21543-CIV-GOODMAN
                                    [CONSENT CASE]


      ROBERT MICHAELSON OF ADVISORY
      TRUST GROUP, LLC, in his capacity as
      Debtor Representative and Liquidating Trustee,

            Plaintiff,

      v.



      PETER BARONOFF, KEITH REUBEN,
      BRIAN DUNN, DAVID ARMSTRONG,
      JAMES HOPWOOD, RICHARD GOLD,
      BRYAN DAY, STAN GRABISH, RICHARD
      COHEN, STEVEN HELLAND, MALINDA
      BARONOFF, SHANNA BARONOFF, and
      JOHN DOES 1-100,

            Defendants.
      ___________________________________________/

           AGREED ORDER ESTABLISHING PROTOCOL FOR PRODUCTION OF
                    ELECTRONICALLY STORED INFORMATION 1

           The parties have filed a joint notice requesting that the Court enter this Order ("ESI

  Order") establishing a protocol for the production of Electronically Stored Information




  1     The Undersigned substantively modified the proposed agreed order in Sections
  VI.A and B. I also made minor edits to correct syntax and grammar issues.
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 2 of 17




  ("ESI") in this matter. [ECF Nos. 143; 143-2]. Based on the parties’ stipulation, the

  Undersigned orders as follows:


  I.     SCOPE


         A.     The procedures and protocols outlined herein govern the search for, review

  and production of ESI (as defined below) by a party during the pendency of this litigation.

         B.     As used in this order, the terms "ESI" or "Electronically Stored Information"

  means discoverable documents and data existing in electronic form including e-mail,

  word processing documents, spreadsheets, electronic slide presentations, databases, and

  other reasonably accessible electronically stored information relevant to the claims or

  defenses of any party subject to discovery pursuant to Fed. R. Civ. P. 26.

         C.     The parties shall conduct discovery in a cooperative and collaborative

  manner. In accordance with the Federal Rules, the parties agree to seek discovery

  regarding any non-privileged matter that is relevant to any party’s claim or defense and

  proportional to the needs of the case.

  II.    IDENTIFICATION OF RESPONSIVE ESI.


         A.     Documents and ESI which are neither privileged nor otherwise protected

  shall be timely reviewed and produced in accordance with this ESI Order. After receiving

  requests for production of documents, the party making the production (the "Producing

  Party") shall conduct a reasonable and good faith search for responsive ESI.

                                              2
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 3 of 17




         B.     Nothing in this Order shall modify the provisions of Fed. R. Civ. P.

  26(b)(2)(B), which applies in this case.

         C.     Search Terms. No later than ten days after the date established by the Court

  for serving initial request for production, and to the extent necessary to enable a

  responding party to locate ESI responsive to any particular request, the parties shall meet

  and confer in a good faith effort to reach agreement as to the method of searching for,

  and the words, terms, and phrases to be used to locate and identify potentially responsive

  ESI. The parties shall also meet and confer in a good faith effort to agree on the timing

  and conditions of any additional searches that may become necessary in the normal

  course of discovery.

         D.     Custodians and Electronic Systems. The parties shall meet and confer in

  good faith to identify the custodians whose email and other ESI will be searched, and any

  other electronic systems that will be searched, using the agreed search terms. The parties

  shall also discuss prioritizing or tiering custodians, with the first priority custodians

  searched and reviewed first, and any further custodians searched only if the party

  requesting the discovery ("Requesting Party") identifies why searches of additional

  custodians are necessary. The parties shall also meet and confer regarding the

  appropriate date range for searching any sources of ESI.

         E.     System Files. Common system and program files as defined by the NIST

  library (which is commonly used by discovery vendors to exclude system and program
                                              3
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 4 of 17




  files from document review and production) need not be processed, reviewed or

  produced. The parties shall meet and confer on any additional file types that also need

  not be processed, reviewed, or produced.

        F.     Non-Discoverable ESI. Consistent with the proportionality standard in

  Fed. R. Civ. P. 26(b)(1), and absent a Party’s specific written notice for good cause, the

  following categories of ESI are presumed to be inaccessible and not discoverable:

               1.      ESI deleted in the normal course of business before the time a

        preservation obligation in this matter came into effect;

               2.      Backup data files that are maintained in the normal course of

        business for purposes of disaster recovery, including (but not limited to) backup

        tapes, disks, SAN, and other forms of media, and that are substantially duplicative

        of data more accessible elsewhere;

               3.      Deleted, “slack,” fragmented, or unallocated data only accessible by

        forensics;

               4.      Random access memory (RAM), temporary files, or other ephemeral

        data that are difficult to preserve without disabling the operating system;

               5.      On-line access data such as (without limitation) temporary internet

        files, history files, cache files, and cookies;

               6.      Data in metadata fields frequently updated automatically, such as

        last-opened or last-printed dates;
                                                 4
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 5 of 17




               7.     Server, system, network, or software application logs;

               8.     Data remaining from systems no longer in use that are unreadable

        on the systems in use;

               9.     Electronic data temporarily stored by laboratory equipment or

        attached electronic equipment, provided that such data is not ordinarily preserved

        as part of a laboratory report;

               10.    De-NISTing - Software files included on the National Institute of

        Standards and Technology (NIST) Modern RDS (minimal) list obtained from

        https://www.nist.gov/itl/ssd/software-quality-group/nationalsoftware-reference-

        library-nsrl/nsrl-download/current-rds;

               11.    Structural files not material to individual file contents that do not

        contain substantive content (e.g., .CSS, .XSL, .XML, .DTD, etc.);

               12.    Operating System files that do not store user-created content (e.g.,

        CAT, DLL, DMP, EXE, FON, PNF, OPS, SYS, etc.); and

               13.    Application source code, configuration, and other similar files

        necessary for the function of an application that do not store user-created content

        during ordinary use (e.g., BAK, BIN, CFG, DBF, DAT, JS, JSON, JAR, LUA, MSB,

        RES, WINNT, YTR, etc.).




                                              5
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 6 of 17




  III. PRODUCTION OF ESI


        A.        General Document Production Format. The following provisions shall

  generally govern the production format and procedure for ESI other than databases or

  spreadsheets.

                  1.    Format. All ESI, other than databases or spreadsheets, shall be

        produced in a reasonably usable form. Such reasonably usable form shall be in a

        black and white single- or multi-page TIFF image at 300 DPI, Group IV

        compression with extracted or OCR text and, if available, a database/metadata

        load file that shall contain the metadata fields listed below in Section III.A.2. If ESI

        is produced with OCR, OCR text files shall be provided along with the production.

        If ESI is produced with extracted text, extracted text shall be provided for all

        documents unless it cannot be obtained. To the extent a document is redacted,

        extracted or OCR text files for such document shall not contain text for the

        redacted portions of the document. Each TIFF image will be assigned a Bates

        number that: (1) is unique across the entire document production; (2) maintains a

        constant length across the entire production padded to the same number of

        characters; (3) contains no special characters or embedded spaces; and (4) is

        sequential within a given document. Each TIFF image file shall be named with the

        Bates Number corresponding to the number assigned to the document page


                                               6
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 7 of 17




        contained in that image. In the event a party determines that it is unable to produce

        in the format specified in this section without incurring unreasonable expense, the

        parties shall meet and confer to agree upon an alternative format for production.

               2.     Metadata. To the extent that any of the following metadata fields

        associated with all applicable documents are available, the Producing Party will

        produce those metadata fields to the Requesting Party: file name, file size, author,

        application date created, file system date created, application date last modified,

        file system date last modified, date last saved, original file path, subject line, date

        sent, time sent, sender/author, recipient(s), copyee(s), and blind copyee(s). For

        emails with attachments, the Producing Party will indicate when a parent-child

        relationship between the message and the attachment exists. A Producing Party

        shall also produce a load file with each production in Concordance (.dat) format

        and an image load file in Opticon (.opt) format with the following fields: Starting

        Bates; Ending Bates; Begin Attach; End Attach; and Source (custodian/location

        from which document was collected). If any metadata described in this section

        does not exist, is not reasonably accessible, is not reasonably available, or would

        be unduly burdensome to collect or provide, nothing in this ESI Order shall

        require any party to extract, capture, collect or produce such metadata.

               3.     Appearance. Each document's electronic image shall convey the

        same information and image as the original document except for redactions for
                                               7
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 8 of 17




        any privilege or personal identifiable information. Documents shall appear with

        any revisions and/or comments visible and printed. Documents that present

        imaging or formatting problems shall be promptly identified and the parties shall

        meet and confer in an attempt to resolve the problems.

               4.     Unitization. If a document is more than one page, the unitization of

        the document and any attachments and/or affixed notes shall be maintained as it

        existed in the original file of the Producing Party or shall be documented in a load

        file or otherwise electronically tracked.

               5.     Color. Documents containing color need not be produced in color in

        the first instance. However, if good cause exists, the Requesting Party may request

        production of such documents in color by providing (1) a list of the Bates numbers

        of documents requested to be produced in color format; and (2) an explanation of

        the need for production in color format. The Producing Party shall not

        unreasonably deny such requests if the Requesting Party has demonstrated good

        cause, but need not make such production until the parties reach agreement

        regarding apportionment of any additional costs associated with the production

        of documents in color.

               6.     Exception Files. Files that cannot be produced or imaged due to

        technical difficulties shall be identified as exception files and identified on a log

        listing the file's name, custodian, and reason for the exception. Common exception
                                              8
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 9 of 17




        files include, without limitation, corruption, password protection, digital rights

        management, or proprietary software associated to the file.

        B.     Production Format for Information from Databases and Spreadsheets.

  The following provisions shall generally govern the production format and procedure for

  databases and spreadsheets:

               1.     Spreadsheets. Except if redacted or other special circumstances,

        Excel files, .csv files and other similar spreadsheet files will be produced in native

        format ("Native Files"). Native Files will be provided in a self-identified "Natives"

        directory. Each Native File will be produced with a corresponding single-page

        TIFF placeholder image, which will contain language indicating that the document

        is being produced as a Native File. Native Files will be named with the beginning

        Bates number that is assigned to that specific record in the production. A

        "NativeLink" entry for each spreadsheet will be included in the .DAT load file

        indicating the relative file path to each native file on the Production Media. Native

        Files will be produced with extracted text and applicable metadata fields if

        possible and consistent with Section III.A.2 above. For documents that contain

        redacted text, the parties may either apply the redactions directly on the native file

        itself or produce TIFF image files with burned-in redactions in lieu of a Native File

        and TIFF placeholder image. Each Producing Party will make reasonable efforts

        to ensure that Native Files, prior to conversion to TIFF, reveal hidden data from
                                              9
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 10 of 17




        redacted Native Files that are produced as TIFF image files and will be formatted

        so as to be readable. (For example, column widths should be formatted so that

        numbers do not appear as "#########".) Under these circumstances, all single-page

        TIFF images shall include row and column headings.

               2.     Databases. If responding to a discovery request requires production

        of ESI contained in a database, the Producing Party at its option, may provide the

        database as a Native File pursuant to Section III.B.1 above, or may comply with

        the discovery request by querying the database for discoverable information and

        generating a report in a reasonably usable and exportable electronic format (for

        example, in Excel or .csv format). The first line of each such file will, to the extent

        possible, show the column headers for each field of data included. The parties shall

        meet and confer as needed to finalize the appropriate data extraction and

        production format for specific information contained in particular databases.

               3.     Requests for Other Native Files. Other than as specifically set forth

        above, a Producing Party need not produce documents in native format. If good

        cause exists for the Requesting Party to request production of certain ESI in native

        format, the Requesting Party may request production in native format by

        providing (1) a list of the Bates numbers of documents it requests to be produced

        in native format; and (2) an explanation of the need for reviewing such documents

        in native format. The Producing Party shall not unreasonably deny such requests
                                              10
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 11 of 17




          if the Requesting Party has demonstrated good cause for receiving the ESI in

          native format. Each file produced in response to such requests will be produced to

          the extent possible consistent with Section III.B.1 above.

          C.     Duplicate Production Not Required. ESI files need only be produced once.

   The Producing Party will apply global deduplication to responsive ESI based on MD5

   Hash values or an equivalent deduplication key. Email, will be deduplicated by family,

   not on an individual basis. Additionally, to the extent reasonably accessible, all

   custodians of removed duplicates will be listed in an "All Custodians" field and identified

   by full name of the individual or departmental custodian. Stand-alone documents may

   be deduplicated against email attachments provided that the email attachment is the

   duplicate that is produced and the custodian(s) of the removed duplicate(s) are entered

   into the All Custodian field. All natives, even deduplicated versions, will be retained in

   a format readily accessible to be produced upon request.

          D.     No Designation of Discovery Requests. Production of hardcopy

   documents and ESI produced as set forth in this Protocol need not be organized and

   labeled to correspond to the categories in the particular document requests. Should a

   Receiving Party make a reasonable request for identification by Bates number of groups

   of Documents that the Producing Party can easily and readily identify, the Producing

   Party shall cooperate and provide such information as soon as reasonably practicable

   considering the scope of the request and the volume of documents implicated.
                                               11
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 12 of 17




          E.       Privilege Logs. A party withholding documents based on one or more

   claims of privilege will produce a privilege log. There will be no obligation to produce

   privilege logs identifying attorney-client communications concerning case strategy or the

   course of litigation that occur following the commencement of this lawsuit, including the

   efforts to locate and collect documents and ESI in response to a discovery request in this

   matter.

   IV.    HARD COPY DOCUMENTS


          The Parties shall meet and confer regarding the method of producing any hard

   copies of documents which are to be produced in this case.

   V.     RULE 502(d) CLAWBACK AGREEMENT


          A.       No Waiver of Disclosure. Section V is agreed to pursuant to Fed. R. Evid.

   502(d). Any Producing Party that discloses or produces a document or information that

   it thereafter claims to be privileged or otherwise protected from discovery ("Protected

   Information"), in whole or in part, shall not be deemed to have waived any applicable

   privilege or protection by reason of such disclosure or production in this or any other

   action. The protocols regarding inadvertent disclosure of Protected Information are set

   forth in the Confidentiality Agreement and Protective Order and incorporated as if fully set

   forth herein.




                                               12
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 13 of 17




          B.      Effect. The provisions in Section IV of this ESI Order are intended to protect

   all parties to this action, to the fullest extent permissible by law, against any unintended

   waiver of the attorney-client privilege and/or the attorney work product doctrine that

   might otherwise arise from the inadvertent disclosure of privileged or protected

   documents or information. These provisions are intended to override any contrary law

   or presumptions if, and as, applicable and permissible. The parties' execution of this ESI

   Order, and compliance with its terms, shall be understood, for all purposes within and

   outside this action, to constitute reasonable and prompt efforts to preserve privileges and

   protections from discovery in respect to any inadvertently disclosed document or

   information.




                                                13
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 14 of 17




   VI.   MISCELLANEOUS PROVISIONS


         A.     If the forms of production allowed by this protocol present an undue

   burden or cost for a Producing Party, the parties shall meet and confer to agree on a

   reasonable, alternative form of production. Any party may seek individual relief from

   this ESI Order by setting the matter for a hearing in accordance with the Court’s

   Discovery Procedures Order.

         B.     The Defendants shall, to the fullest extent as reasonably appropriate,

   coordinate requests for production of documents and ESI. However, nothing in this

   Order shall preclude any individual Defendant from serving its own requests for

   documents and ESI pursuant to Rule 34 of the Federal Rules of Civil Procedure, or

   otherwise, or seeking leave of the Court with respect thereto. Any request for leave shall

   be made in accordance with the Court’s Discovery Procedures Order.

         C.     Each party will presumptively bear its own costs of production.

         However, the parties reserve the right to seek cost shifting as appropriate.

         D.     Nothing in this ESI Order shall be construed to affect the discoverability or

   admissibility of any document or data. All objections to the discoverability or

   admissibility of any document or data are preserved and may be asserted at the

   appropriate time.




                                              14
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 15 of 17




          The parties may agree to modify or waive the terms of this ESI Order in writing

   signed by counsel for the affected parties.

          DONE and ORDERED in Chambers, in Miami, Florida, on March 17, 2022.




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                                                 15
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 16 of 17




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                                          16
Case 1:21-cv-21543-JG Document 154 Entered on FLSD Docket 03/17/2022 Page 17 of 17




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                                        17
